CaSe'4:O7-cv-OO478 Document 2 Filed in TXSD on 02/02/07 Page 1 of 15
UN|TED S¥A¥ES COURTS
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UNITED STATES DISTRICT COURT FEB_~Z;DU?
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

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ESNORALDO DE JESUS POSADA-RIOS Criminal Case No.
Movant, H-92-137-2
VS.
Civil Case No.
UNITED STATES OF AMERICA
Respondent. /

 

MEMORANDUM OF FACT AND LAW IN SUPPORT
OF MOVANT'S § 2255 MOTION

Now comes, Esnoraldo De Jesus Posada-Rios, hereinafter "Movant"
in pro-se, and respectfully offers this, his l/memorandum of fact
and law in support of his § 2255 motion.

I.
INTRODUCTION

Movant Esnoraldo De Jesus Posada-Rios, asserts 3 principle
arguments in support of his § 2255 motion. §i£§£, movant alleges
that he was denied effective assistance of counsel by his appointed
counsel at trial, sentencing and appeal. Second, movant asserts that
the AEDPA's one-year limitations period should be tolled due to his
appellate counsel's refusal to provide him a copy of his trial tran-
scripts and legal records made available for appeal, and for the
institution's failure to provide non-english-speaking inmates with
an adequate alternative to access to the courts. Ihi£d, movant asserts
that his § 2255 motion should be granted because he was denied the
effective assistance of counsel under the sixth amendment of the

United States Constitution.

 

l/This memorandum was prepared with the help of a<Iailhouse lawyer
pursuant to 28 CFR 543.11; § 2242.

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II.
STATEMENT OF THE CASE

In December of 1992 a 134-page superseding indictment was
returned charging 35 defendants drug trafficking and related
charges arising out of a conspiracy that began in 1985. After
84 days of trial movant and 9 other defendants were convicted
of a number of offenses. See U.S. v. Posada-Rios, 158 F.3d 832
(5th Cir 1988).

Movant was convicted of Count 1 (conspiracy to participate
in a racketeering enterprise in violation of 18 U.S.C. § 1962(d)),
Count 2 (participating in a racketeering interprise in violation
of 18 U.S.C. § 1962(0)). and Count 3 (conspiracy to possess w/~
intent to distribute cocaine in violation of 21 U.S.C. §§ 841 (b)
(1)(A) and 846. Movant was sentenced to concurrent terms of life
in prison, followed by 10 years of supervised release, and was
ordered to pay $150.00 in special assessments.

Thereafter, movant appealed his sentence with the assistance
of counsel Ralph R. Martinez presenting the sole issue that the
district court erred by sentencing him as a carreer offender USSG
4B1.1, in which the Fifth Circuit held that this argument is
"irrelevant" because the district court did not sentence movant as
a carreer offender. Posada-Rios, 158 F.3d at 878. As of now it is
fair to say that movant has not been afforded a meaningful appellate
review of his conviction.

III.
STATEMENT OF THE FACTS

Movant in this case was Convicted on Counts 1,2, and 3 of the
1992 superseding indictment to which he was sentenced to concurrent

terms of life in prison.

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On his direct appeal the Fifth Circuit held that appointed
counsel's sole issue presented was "irrelevant". Therefater,
movant requested a copy of the trial transcripts and record avail-
able to appellate counsel. However, as of this date appointed coun-
sel has not provided movant the transcripts and record so he would
be able with the assistance of a law library clerk, attempt to frame
his argument for his post conviction review of his § 2255.

Movant has requested the courts assistance in compelling
_appellate counsel Ralph R. Martinez to provide movant a copy of his
trial transcripts and record to no avail. See attached exhibit A

After languishing in prison for over 10 years without a clue
on how to proceed, movant is now fortunate to find a jailhouse
lawyer that has the legal expertise to attempt to frame a non-
frivolous argument (based from the Fith Circuit's published opinion
and the P.S.I.), for a fair and questionable review of his § 2255.
.Therefore, movant humbly presents this statement of facts based on
the Fifth circuit's published opinion in U.S. v. Posada-Rios, Id.,
to the best of his recollection and memory.

According to the opinion of Posada-Rios, in September 9, 1988
Samuel Posada-Rios designated his brother, (movant) Esnoraldo Posada-
Rios as his local successor to collect money. In January of 1989
after Espiallat's arrest movant then fled to New York where he
allegedly ran Samuel Posada-Rios' New York cocaine distribution
operation. See Posada-Rios, Id at 844. Thereafter, New York police
arrested movant on January 27, 1990 and movant's participation in
the RICO conspiracy ended at his arrest. The record reflects that
movant is responsible for 100KG of cocaine. 25KG delivered by Bedoya
& Mirgas and a second 75KG in November of 1988. In support of this
fact the government presented inadmissible and suspect confession.

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See P.S.I at F 106. In addition, no racketeering act was unanimously
found to have been proved as to each predicate acts. See U.S. v.

Gotti, 431 F.3d 133 (2nd Cir 2006)(citing Richardson v. U.S., 526

 

U.S. 813 (1999).

After movant's arrest the Wonda Cortez organization distributed
cocaine that was not forseeable to movant. Moreover, the sufficiency
of the evidence to the distribition conspiracy of Count 3 as to
movant's knowledge, intent, and participation is questionable. Thus,
the trial transcript is a "must" in this case.

At sentencing a 4-level leadership enhancement was not warranted
where movant allegedly managed only assets of conspiracy and not
another participant. U.S. v. Glover, 179 F.3d 1300 (11th Cir 1999).

IV.
STATEMENT OF JURISDICTION

Movant’s time limit has expired for filing § 2255. However,
the one-year statute of limitations include in the AEDPA does not
operate as a jurisdictional bar to habeas corpus petitions and can,
in appropriate exceptional circumstances, be "equitably tolled".

V.
EQUITABLE TOLLING

In Lonchar v. Thomas, 517 U.S. 314 (1996) the Supreme Court
held that "dismissal of a first federal habeas petition is a part-
4icularly serious matter, for that dismissal denies the petitioner
the protections of the gret writ entirely, risking injury to an
important intrest in human liberty". Id. at 324.

The statute of limitations must not be applied too harshly.

See U.S. v. Wynn, 292 F.3d 226 (5th Cir 2002)(citing Fisher v. Johnson,

174 F.3d 710, 713 (5th Cir 1999). DiSmiSsing the first § 2255 motion

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or habeas petition is a "particularly serious matter". In applying
the doctrine of equitable tolling, this court must examine the
facts and circumstances of each particular case.

Movant’s motion is timely under 28 U.S.C. § 2255 T 6 para-
graph (2) and or (4). Even though movant's motion was filed over
10 years after his conviction became final, it would be timely
under paragraph (2). if : (1) the government engaged in action that
violated the constitution or laws of the United States; (2) that
action created an impediment in the filing of the petition; and (3)
movant filed the petition within one-year after the impediment was
removed. See U.S. v. Ngi Tamfu, 2002 WL 31452410 at *3 (N.D. Tex.
October 5, 2002).

As held in Lewis v. Casey, 518 U.S. 343 (1996)(when any inmate,
even an illiterate or non-english-speaking inmate shows that an
actionable claim of this nature which he desires to bring is current-
ly being prevented, he demonstrates that the state has failed to
furnish "adequate law libraries or adequate assistance from persons
trained in the law". Bounds v. Smith, 430 U.S. 817 (1977).

Movant in this case has not been provided with his trial
transcripts and legal papers by his appointed counsel which should
toll the one-year limitation period. See Ford v. Hubbard, 305 F.3d
875 (9th Cir 2002). In the alternative, movant has not been pro-
vided a reasonable adequate opportunity to file a non-frivolous claim
to challenge his conviction. See Medoza v. Carey, 449 F,Bd 1065 (9th
Cir 2006). _

If the limitations period is not tolled in this case, the effect
will raise serios constitutional questions. see Triestman V. U.S.,
124 F.3d 361, 377 (2nd Cir 1997).

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VI.
ARGUMENT

I. FAILURE TO PROVIDE A FREE COPY OF
TRIAL TRANSCRIPTS AND RECORD IS A DUE
PROCESS VIOLATION.

In this case movant's court appointed attorney was furnished
trial transcripts for his appeal. However, movant's counsel has
not furnished him a copy for purposes of filing § 2255. Therefore,
denying movant an adequate oppurtunity to present his claims
fairly. See U.S. v. MacCollum; 426 U.S. 317 (1976)(citing Ross V.
Moffit, 417 U.S. 600 (1974).

In this case movant has requested and has not been provided
transcripts of his trial. The only cases that have rejected indigent
defendant's claims to transcripts have done so either because an
adequate alternative was available but not used. Britt v. North Caro-
lina, 404 U.S. 226 (1971) or because the request was plainly friv-
olous and a prior opportunity to obtain a transcript was waived.

U.S. v. MacCollum, 426 U.S. 317 (1976). Therefore, movant is entitled

 

to a free copy of his trial transcripts and record.
II. NO RACKETEERING ACT WAS UNANIMOUSLY
FOUND TO HAVE BEEN PROVED.

In this case the jury was not instructed that the jury must
be unanimous as to each of the two predicate acts. Richarson v. U.S.;
526 U.S. 813 (1999). The jury failed to find that the prosecution
proved each one of those two ... specifically alleged predicate acts_
beyond a reasonable doubt.

Richardson, applies retroactive to movant in this case, The
jury instructions is a must for this claim. The government has
failed to prove the necessary minimum of two predicate acts.

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III. MOVANT WAS DENIED HIS SIXTH AMENDMENT
RIGHT TO EFFECTIVE ASSISTANCE OF COUNSEL.

Under the sixth amendment to the United States Constitutiony
movant was entitled to effective assistance of counsel in the trial,
sentencing, and appellate phase of his criminal proceedings. His
appointed counsel's representations fell below an objective
reasonable standard which resulted in insurmountable prejudice to
movant. Strickland v. Washington, 466 U.S. 668 (1984). Because
movant has not been afforded a copy of his trial transcripts along
with a copy of his legal documents requested, movant humbly presents
all his issues on the merits to the best of his recollection an

memory as follows:

l. FAILURE TO ARGUE THE SUFFICIENCY OF THE
EVIDENCE TO COUNT # 3.

Movant is unable to remember if his trial counsel moved for
a judgement of aquittal to preserve the sufficiency of the evid-
ence claim for appallete review. It appears that the evidence only
shows that movant had a limited participation in the alleged RICO
conspiracy from September 1988 to the date of his arrest in January
27, 1990. Therefore, being that the conspiracy count # 3 was the
most prejudicial against movant, the opinion of Posada-Rios, reveals
that there is insufficient evidence of movant's participation,
knowledge or agreement to this conspiracy and the trial transcript
`and a copy of the indictment is required on this claim.'Movant is
not able to be specific on the prejudice on this claim because he

vdoes not know if the issue was preserved for appellate review. A

V .

2. FAILURE TO OBJECT TO THE INADMISSIBLE
CONFESSION AT TRIAL

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A copy of the trial t
of this claim.

_;“J“_;`§reen, 272 F.3d 748 (5th Cir 2001).
ineffective for

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counsel was
failing to suppress movant’

s invalid confession.
In this case,

inating statements.

745-46 (1948). A defendant may attack
a statement as involuntary

even while denying having made the
statement.

_"M_, 142 F.Supp. 2d 1047 (N.D.

as not conformed of his right to
counsel through a Miranga, warning. Therefore, any_statement elicited_
by law enforcement officers was inadmissible,

and counsel was in-
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§§mmelman v. Morrisgn, 477 U.S. 365 (1986).

The alleged confession was elicited in violation of movant's
fifth amendment right to counsel, and its admission at trial was
reversible error. §.S, v. Green, 272 F.3d at 753-54. Therefore,
counsel's performance in failing to properly object to inadmissible-

evidence was deficient and unreasonable.

3. FAILURE TO OBJECT TO 4-LEVEL LEADERSHIP
ENHANCEMENT.

a lesser sentence. See Ql§;mvgu§tripklin, 290 F.3d 748, 752 (5th
Cir 2002)(citing Qlover_v;`QL§L, 531 U.S. 198 (2001)). Any amount
of jail time has sixth amendment significance. The trial transcript

is a must in the resolution of this claim.

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4. FAILURE TO OBJECT TO FORSEEABILITY
OF DRUG QUANTITY

Movant’s incarceration has some effect on the forseeability
of the acts of his co-conspirators occuring after his January 1990
arrest. The raesonable forseeability required by section 2D1.4
requires a finding seperate from a finding that the defendant was
part of the conspiracy. See U.S. v. Puig-Infante, 19 F.3d 929, 945
(5th Cir 1994).

Counsel's failure to object to the drug quantities accountable
in determining the guidelines range is deficient performance and
movant was prejudiced by failing to consider his forseeability in
light of movant's parttin the organization prior and after his 1990
arrest. The amount forseeable to movant in this case is slight if
any. Accordingly a trial transcript is a must in this court's reso-

lution of this claim.

5. FAILING TO OBJECT TO GUILT BY ASSOCIATION
EVIDENCE AT TRIAL

In this case the government's theory presented that movant was
the brother of Samuel Posada-Rios an alleged ring leader an head
man of the Posada-Rios organization.

Counsel was ineffective for failing to object to the preju-
dicial guilt by association evidence which in this case permeated
the whole trial. See U.S. v. Polasek, 162 F.3d 878 (5th Cir 1998)
(holding guilt by association evidence as "highly prejudicial").
The evidence in this case relying solely on compensated witnesses

is far from overwhelming and was not harmless error. The trial

transcript is also a must in the resolution of this claim.

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REQUEST FOR AN EVIDENTIARY HEARING

Section 2255 provides that "[u]nless the motion and the files
and records of the case conclusively show that the prisoner is en-
titled to no relief, the court...shall grant a prompt hearing there
on , determine the issues and make findings of fact and conclusions
of law with respect thereto". See, e.g., §§untaine v. U;§., 411 U.S.
213, 215 (1973)(reversing summary dismissal and remanding for hear-
ing because "motion and the files and records of the case did not
conclusively show that the petitioner is entitled to no relief".)

A motion brought under § 2255 can be denied without a hearing only

if the motion, files, and records of the case conclusively show that
the prisoner is entitled to no relief". See U.S. v. Bartholowmew, 974
F.2d 39, 41 (5th Cir 1992).

Additionally, a habeas petitioner like Posada-Rios should`
recieve an evidentiary hearing when he makes "a good-faith allegation

argue, 351 F.3d 919, (9th Cir 2003).

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An evidentiary hearing should be held. Thereafter movant's

lEsnoraldo De Jesus Posada-Rios's § 2255 motion should be granted.

Dated on this;§?qi day of January, 2007.

Respectfully submitted
BY €}M\t§-(./Q PCM'R§'>»

Esnoraldo e Jesus Posada-Rios
# 60112-079

U.S. PENITENTIARY POLLOCK

P.O. BOX 2099

POLLOCK, LOUISIANA 71467

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*** ESNORALDO DE JESUS POSADA-RIOS AFFIDAVIT ***

l, Esnoraldo De Jesus Posada-Rios, the Movant in this action,
declare, under the penalty of perjury, that the following recitation

of facts is true as to the best of my recollection:

1. At the beginning of my case Mr. Ralph Martinez
was appointed to represent me, Therefore we
discussed the evidence that the government had
against me.

2. I told Mr. Martinez that I had never made a
confession and he never did anything to exclude
the alleged confession from admission at trial.

3. I also told Mr. Martinez that l was incarcerated
during the time frame of the Wonda Cortez con-
piracy and the R.I.C.O. Conspiracy and that l
never conspired with Wonda Cortez as alleged.

4, l requested a copy of my transcripts from Mr.
Martinez after the appeal was affirmed. However,
he refuses to provide me a copy of the legal
papers and transcripts for filing post conviction
relief.

Executed on this §quday of January, 2007.

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ESNORALDO\DE JEsUS PosAnA-Rlbs

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EXHIBIT-A

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